                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DAVID DUGAN, on behalf of                )
himself and all others                   )
similarly situated ,                     )
                                         )
                    Plaintiff,           )
                                         )
              v.                         )          1:21-CV-00341
                                         )
NATIONSTAR MORTGAGE, LLC, and            )
ACI WORLDWIDE CORP.,                     )
                                         )
                    Defendant.           )

                              ORDER
    on Class Action Certification and Preliminary Approval of
                            Settlement

       This is a putative class action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq., and the North Carolina

Debt Collection Act, N.C. Gen. Stat. § 75-50, et seq.                  Plaintiff

David     Dugan,   on    behalf   of   himself   and   all    others   similarly

situated, contends that Defendants Nationstar Mortgage, LLC and

ACI Worldwide Corporation “participated in unauthorized debits of

mortgage     payments     from    borrower   bank      accounts;    withdrawing

multiple months of payments from their customers without notice .”

(Doc. 21 ¶ 2.)

       Before the court is Plaintiff’s unopposed motion for class

certification      and    preliminary     approval     of    settlement,   which

contains several requests to which Defendants do not object. (Doc.

70.)     This Order incorporates by reference the definitions set

forth in the motion for preliminary approval and the proposed




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settlement agreement and release (the “Agreement”).                   (Doc. 71-2.)

The court has considered the motion, proposed Agreement, and the

entire record of the case.           For the reasons that follow, the

unopposed motion will be granted, and

     The court FINDS and HEREBY ORDERS that:

     1.   The court has jurisdiction over the subject matter of

this action pursuant to 28 U.S.C. § 1332(d)(2) and jurisdiction

over all settling parties.

     2.   The court preliminarily finds that this action satisfies

the applicable prerequisites for class action treatment under

Federal Rule of Civil Procedure 23, namely:

          a.    The Settlement Class Members, of which there are

          approximately 480,000, are so numerous that joinder of

          all of them in this lawsuit is impracticable;

          b.    There are questions of law and fact common to the

          Class Members, which predominate over any individual

          questions, including (i) whether Defendants posted ACI

          debits and credits on Settlement Class Members’ bank

          accounts    that    were   in     excess      of   amounts     for   which

          Settlement    Class   Members         had    given    Defendants     their

          consent, approval,         and    authorization        to   withdraw    or

          deposit,     (ii)   whether       the       alleged    debit    postings

          constitute    conversion         of    Settlement      Class    Member’s

          funds, (iii) whether there existed an express or implied

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          contract    between    Defendants     and   Settlement      Class

          Members, and whether Defendants breached that contract,

          and (iv)    whether    Defendants violated       the   Electronic

          Funds Transfer Act;

          c.    The claims of Plaintiffs are typical of the claims

          of the Settlement Class Members;

          d.    Plaintiffs and Settlement Class Counsel have fairly

          and adequately represented and protected the interests

          of all Settlement Class Members; and

          e.    Class treatment of these claims will be efficient

          and manageable, thereby achieving an appreciable measure

          of judicial economy, and a class action is superior to

          other    available    methods   for   a   fair   and   efficient

          adjudication of this controversy.

     3.   Pursuant to Federal Rule of Civil Procedure 23(b)(3),

this action is hereby preliminarily certified, for settlement

purposes only, as a class action on behalf of the fo llowing class

of Plaintiffs (the “Settlement Class Members”) with respect to the

claims asserted in this lawsuit:

          All Persons throughout the United States whose mortgages
          were or are serviced by Nationstar, and who were
          subjected to the Incident; namely, alleged unauthorized
          Automated Clearinghouse ("ACH") activity by Defendants
          during April 23-26, 2021.

     4.   The parties represent that within twenty-one days of

signing the Agreement, the Defendants provided the Settlement

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Administrator with the Class List.         (Doc. 71-2 at 22.)

     5.     Pursuant to Federal Rule of Civil Procedure 23, the court

appoints the following as Class Representatives: Marlene Dehner,

Charita    Devereaux,   David   Dugan,    Anita   Friday,    Dwayne    Friday,

LaTreece Jones, Dawn Keil, Shuron Miller, Brett Padalecki, and

Dianne Thompson.     (See Doc. 71-2 at 9.)

     6.      Pursuant to Federal Rule of Civil Procedure 23(g), the

court appoints the following lawyers as Class Counsel:                Scott C.

Harris of Milberg Coleman Bryson Phillips Grossman, PLLC; Edward

H. Maginnis of Maginnis Howard; Norberto J. Cisneros of Maddox &

Cisneros LLP; Marc E. Dann of DannLaw; George Haines of Freedom

Law Firm, LLC; Michael Kind of Kind Law; Joel R. Rhine of Rhine

Law Firm, P.C.; and Thomas A. Zimmerman, Jr., of Zimmerman Law

Offices, P.C.     (Doc. 71-2 at 63.)

     7.     The court preliminarily finds that the settlement of

these lawsuits, on the terms and conditions set forth in the

Agreement, appears fundamentally fair, reasonable, adequate, and

in the best interest of the Settlement Class Members, especially

in light of the following:         the benefits of the Settlement Class

Members;    the   strength   and   weaknesses     on   the   merits    of   the

Plaintiffs’ case; the stage of the proceedings; the complexity,

expense, and probable duration of further litigation; the risk and

delay inherent in appeals; and the opinion of counsel.                Further,

it appears that the proposed Agreement was the product of good-

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faith     bargaining   during   extensive,      arm’s-length       negotiations

between experienced counsel.       (See Doc. 71-2 at 2-3).

     8.     The   court    approves       Angeion    Group    as     Settlement

Administrator to administer the Settlement, including providing

notice to the Settlement Class; establishing and maintaining the

settlement     website;   receiving       and   maintaining   correspondence

regarding Requests for Exclusion, intervention and objections to

the Settlement; responding to inquiries from Settlement Class

Members received through the settlement website, or by first-class

mail or by telephone; and assisting Defendants’ counsel a nd Class

Counsel with other aspects of the Settlement as necessary and

directed by counsel.      Settlement Administrator shall: (a) prepare

the Notice Program; (b) disseminate the Class Notice; (c) process

Claim Forms and Requests for Exclusion; (d) receive and serve on

Class Counsel, Defendants’ counsel, and the Court any written

objections and Requests for Exclusion; (e) determine the amounts

of the Awards due to eligible Settlement Class Members in accord

with the terms and procedures set forth herein and t he Agreement;

(f) report, in summary or narrative form, to Settlement Class

Counsel and Defendants’ counsel regarding the completion of the

tasks identified in this paragraph; (g) issue other reports and

provide any and all files, documents, and data related to the

Agreement, upon request, to Defendants’ counsel, or Settlement

Class Counsel; (h) carry out other related tasks in accordance

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with the terms of the Agreement; and (i) agree to employ their

best     efforts    to    faithfully      and    fully    perform      any    and    all

obligations and duties imposed on the Settlement Administrator

pursuant to the Agreement and its exhibits and amendments (if any).

The Settlement Administrator shall be compensated in the manner

set forth in the Agreement.

       9.    The court approves the form and substance of the Notices

and the Claim Form and Release that were amended and re-submitted

by the parties as Exhibit A (Doc. 74-1), Exhibit B (Doc. 74-2),

and Exhibit C (Doc. 74-3).

       10.   The    proposed      Notice       and   method   for     notifying      the

Settlement Class Members of the settlement and the terms and

conditions of the Agreement meet the requirements of Federal Rule

of Civil Procedure 23(c)(2)(B) and due process, meet the standards

for     notices    of     class   actions,       constitute     the    best     notice

practicable       under    the    circumstances,       and    constitute       due   and

sufficient notice to all persons and entities entitled to the

Notice.      The court finds that the Notices, including the postcard

(Doc. 74-2) and the long form notice (Doc. 74-3), are clearly

designed to advise the Settlement Class Members of their rights.

       11.   In    accordance      with    the       Agreement,     the      Settlement

Administrator will send the postcard notice, in the form of Exhibit

B, via First Class U.S. Mail, postage pre-paid, to Settlement Class

Members as expeditiously as possible, but in no event later than

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thirty days after the date of this Order.                  (Doc. 71-2 at 23.)

Within    twenty     days    after   sending    the   postcard    notice,     the

Settlement Administrator will take reasonable efforts to confirm

the address and resend Notices for Settlement Class Members for

which    the    Settlement    Administrator     receives    returned   mail    as

undelivered.       (Id.)

     12.       Pursuant to the Agreement, the Settlement Administrator

will establish a dedicated settlement website (the “Website”)

within thirty days of entry of this Order.                 (Doc. 71-2 at 23.)1

The Website will include the Agreement, this Order, a long form

notice, and the Claim Form.             (Id.)     The Website will have a

downloadable Claim Form and a mechanism by which the Claim Form

can be completed electronically on the Website.                   (Id.)       The

Settlement Administrator will ensure that the Website includes a

toll-free number with interactive voice response, FAQs, and an

option to speak to a live operator to answer inquiries.                   (Id.)

The long form notice shall be made available through the settlement

website no later than the date the postcard notice is mailed. (Id.

at 69.)

     13.       Pursuant to the Agreement and 28 U.S.C. § 1715, the

parties represent that no later than ten days after the Agreement



1  The parties have agreed that the Website will be named
www.ACHLoanPaymentLitigation.com.       However, if that     name is
unavailable, the website name will be similar and in no event contain
the terms “Nationstar” or “Mr. Cooper.” (Doc. 71-2 at 23.)

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was filed with the court the Defendants served notice of the

proposed settlement with the Attorneys General of each U.S. State

in which Settlement Class Members reside, the Attorney General of

the United States, and other required government officials as

required by law.

      14.   While the Agreement provides that the postcard notice,

long form notice, and Claim Form approved by the Court may be

adjusted     by   the    Settlement   Administrator,    respectively,       in

consultation and agreement with the parties, as may be reasonable

and   necessary    and    not   inconsistent   with   such   approval,     any

substantive change must be presented to the court for approval.

(Doc. 71-2 at 24.)

                          Requests for Exclusion

      15.   Any Settlement Class Member who desires to be excluded

from the Settlement Class must individually sign and timely mail

a written Request for Exclusion, postmarked no later than seventy-

five days after the date of entry of the Preliminary Approval Order

(the “Opt Out Date”), to the address designated by the Settlement

Administrator.        (Doc. 71-2 at 24.)          The written Request for

Exclusion must include (a) the caption of the lawsuit Dugan v.

Nationstar Mortgage LLC, M.D.NC., Case No. 1:21-cv-341; (b)                the

Settlement    Class     Member’s   full   name,   address,   and   telephone

number; (c) the Settlement Class Member’s personal and original

signature or the original signature of a person authorized by law

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to act on the Settlement Class Member’s behalf with respect to a

claim or right such as those asserted in the litigation, such as

a trustee, guardian, or person acting under power of attorney; and

(d) state unequivocally the Settlement Class Member’s intent to be

excluded from the Settlement.            (Id. at 11-12.)        Any Settlement

Class Member who timely submits a valid written exclusion notice

shall not participate in, or be bound by, the                    Settlement or

Judgment in any respect.         (Id.)

       16.    Persons who purport to opt-out of the Settlement as a

group, aggregate, or class will not be considered to have validly

opted out.

       17.    Any Class Member who does not send a timely written

Request for Exclusion meeting the conditions described in the

foregoing paragraphs shall be bound by the final Settlement and by

all subsequent proceedings, orders and judgments in this action,

even     if   such   person    has   pending    or     subsequently   initiates

litigation     or    other    proceedings    against    any   Released   Persons

relating to matters or the claims released in this action.

       18.    Any Settlement Class Member who does not file a timely

Request for Exclusion may file a notice of intent to object to the

Settlement.       However, Settlement Class Members may not seek to

exclude themselves from the Settlement and file an objection to

the proposed Settlement.



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                                   Objections

      19.   Any Class Member who wishes to object to any aspect of

the Settlement       must deliver     to Class Counsel and Defendants’

counsel, and file with the court, no later than 75 days after entry

of   this   Order,   a   written     statement   of    his/her    objection(s).

Written objections must include: (i) the objector’s full name,

address, telephone number, and email address (if any); (ii) the

name of this action and the case number; (iii) a statement of each

objection;    (iv)    proof   that    the   objector   is   a    member   of   the

Settlement Class; (v) dates on which the objector is available to

give a deposition, in case the parties wish to do so; and (vi) a

written summary detailing the specific basis for each objection,

including any legal and factual support the objector wishes to

bring to the court’s attention and any evidence the objector wishes

to introduce in support of the objection.              (Doc. 71-2 at 25-26.)

The objection must be signed by the objector or person legally

authorized to sign on the objector’s behalf.

      20.   Settlement Class Members may raise an objection either

on their own or through an attorney hired at their own expense.

If the objection is made through an attorney, the written objection

must also include: (1) the identity and number of the Settlement

Class Members represented by objector’s counsel; (2) the number of

such represented Settlement Class Members who have opted out of

the Settlement Class; and (3) the number of such represented

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Settlement Class Members who have remained in the Settlement Class

and have not objected.         If the attorney intends to seek fees and

expenses from anyone other than the objector(s) that he or she

represents, the attorney shall also file with the court and serve

on Class Counsel and Defendants’ counsel not later than 15 days

before the Fairness Hearing a document containing the following:

(1) the amount of fees sought by the attorney for representing the

objector(s) and the factual and legal justification for the fees

being sought; (2) a statement regarding whether the fees being

sought were calculated on the basis of a lodestar, contingency, or

other   method;    (3)   the   number    of   hours   already   spent   by   the

attorney, and an estimate of the hours to be spent in the future;

and (4) the attorney’s hourly rate. (Doc. 71-2 at 26.)

     21.   By filing an objection, objectors and their counsel

submit to the jurisdiction of the court for all purposes relating

to this matter including, but not limited to, subpoenas, discovery,

and the posting of a bond, if any.            (Doc. 71-1 at 67.)

     22.   Objectors must make themselves available for deposition

by Settlement Class Counsel and Defendants’ counsel between the

time the objection is filed and a date no later than 10 days before

the Fairness Hearing, should the parties wish to conduct such

depositions.      (Doc. 71-2 at 67.)

     23.   Any objector or objector’s attorney who intends to make

an appearance at the Fairness Hearing must deliver to Settlement

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Class Counsel and Defendants’ counsel and have file-marked by the

court, no later than 75 days after entry of this Order, a Notice

of Intent to Appear.        The Notice of Intent to Appear must: (1)

state how much time the Settlement Class Member anticipates needing

to present the objection; (2) identify, by name, address, and

telephone   number,   all    witnesses   the   Settlement   Class   Member

proposes to have testify; (3) summarize in reasonable detail the

anticipated testimony of all such witnesses; (4) identify all

exhibits the Settlement Class Member intends to offer in support

of the objection; and (5) attach complete copies of all such

exhibits.    (Doc. 71-2 at 26-27.)

     24.    Any Settlement Class Member who fails to comply with the

provisions of this Order and the Agreement concerning objections

shall waive and forfeit any and all rights he or she may have to

appear separately and/or object, and shall be bound by all the

terms of the Settlement, including the release of the Released

Persons, and by all proceedings, orders and judgments in this

action and the related lawsuits.

     25.    Prior to the Fairness Hearing, counsel for the parties

shall file with the court an appropriate declaration from the

Settlement Administrator demonstrating compliance with the Notice

program approved by the court. (Doc. 71-2 at 24.) Within fourteen

days after the Opt Out Date and Objection Deadline, the Settlement

Administrator will provide the parties’ counsel with a declaration

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attesting to the Notice provided and the number of Opt Outs and

Objections received.       (Id.)

     26.   The court will conduct a Fairness Hearing on May 31,

2023, in Courtroom 1 at the Hiram H. Ward Federal Building and

U.S. Courthouse, 251 N. Main Street, Winston Salem, NC 27101, to

review and make a final ruling upon the following issues:

     a.    Whether     this        action        satisfies     the    applicable

     prerequisites     for    class    action      treatment    for   settlement

     purposes under Federal Rule of Civil Procedure 23;

     b.    Whether the proposed settlement is fundamentally fair,

     reasonable,     adequate,      and     in    the   best   interest   of   the

     Settlement Class Members and should be approved by the court;

     c.    Whether a Final Order and Judgment, as provided under

     the Agreement, should be entered, dismissing this lawsuit

     with prejudice and releasing the Released Parties; and,

     d.    To discuss and review other issues as the court deems

     appropriate.

     27.   If the settlement proposed by the parties is finally

approved, the court shall enter a separate order approving the

settlement, entering judgment, and dismissing this action with

prejudice.   Such order and judgment shall be fully binding with

respect to all Settlement Class Members and shall release each and

every   Defendant    and   the   Released        Persons, as    defined   in   the

Agreement, from any and all claims or causes of action that are

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based on, arise from or are related to, directly or indirectly,

the Released Claims, as defined in the Agreement.                 If final

approval is not granted, the settlement is null and void, and the

parties will revert to their positions as of May 23, 2022, without

prejudice to their rights, claims, or defenses.

     28.   In conformance with this Order of preliminary approval

and the Agreement, the court enters the following schedule:

           a.   The postcard notice in the form approved shall be

     sent to Settlement Class Members via first class mail, as

     provided in the Settlement, within 30 days after entry of

     this Order, on or before March 15, 2023.

           b.   The long notice shall be made available through the

     settlement website no later than the date the postcard notice

     is mailed.

           c.   Any objections to the Settlement shall be submitted

     on or before April 29, 2023.

           d.   Any Notices of Intent to Appear at the Fairness

     Hearing shall be filed and served on or before April 29, 2023.

           e.   Any Requests for        Exclusion   from   the   Settlement

     shall be postmarked no later than April 29, 2023.

           f.   The Fairness Hearing shall be held on May 31, 2023,

     at 10:00 a.m., in Courtroom 1 at the Hiram H. Ward Federal

     Building and U.S. Courthouse, 251 N. Main Street, Winston

     Salem, NC 27101.

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          g.    Class Counsel shall file with this           court their

    petition for an award of attorneys’ fees and reimbursement of

    expenses and request for Service Awards to the Plaintiffs no

    later than April 14, 2023.      This petition may be supplemented

    prior to the Fairness Hearing.

          h.    The parties shall file and serve papers in support

    of final approval of the Settlement, including any respons es

    to proper and timely objections filed thereto, by May 17,

    2023.




                                           /s/   Thomas D. Schroeder
                                        United States District Judge

February 13, 2023




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